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                                                                                           ii    IT"
     STEPHANIE M. HINDS(CABN 154284)
     United States Attorney
 2
     THOMAS A. COLTHURST(CABN 99493)                                                                   -
 3   Chief, Criminal Division                                                                   - 1 %')')
                                                                             CLERK. U8                      _
                                                                           north I )i'''               .'OURT
4    HILLARY T. IRVIN(MDBN 1712130257)
     Assistant United States Attorney                                        North district of^m£Vdmia
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9
                                         UNITED STATES DISTRICT COURT
10
                                      NORTHERN DISTRICT OF CALIFORNIA
11
                                             SAN FRANCISCO DIVISION
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13   UNITED STATES OF AMERICA,                            noCR 22 0452^
14          Plaintiff,                                    MOTION FOR SEALING ORDER

15                          V.                            UNDER SEAL                            BY ORDER
                                                                                    OF THE COURT
16         KEVIN ARTEAGA-MORALES,

17          Defendant.

18

19          The United States, by and through its counsel. Assistant United States Attorney

20   HILLARY T. IRVIN, moves this Court for an order sealing the government's application for a

21   sealing order, the sealing order, the indictment, arrest warrant, and all attachments in the above-
22   referenced investigation. Disclosure of the specified documents mightjeopardize the defendant's

23   arrest. The United States requests that the arrest warrant be unsealed after it has been executed.

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     MOTION FOR SEALING ORDER                              1                                      v. 12/01/2022
             Case 3:22-cr-00452-CRB Document 2 Filed 12/01/22 Page 2 of 2




 1          Accordingly, the United States requests that the Court seal these documents, except that the

 2   Clerk of Court shall provide copies of the sealed documents to employees of the United States

 3   Attorney's Office. The United States further requests that the United States Attorney's Office be

4    permitted to share these documents as necessary to comply with its discovery obligations, and with the

5    Alcohol, Tobacco, and Firearms.

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7    DATED: December 1, 2022                             Respectfully submitted,

 8                                                       STEPHANIE M. HINDS
                                                         United States Attorney
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10
                                                         /s/ Hillary T. Irvin
                                                         HILLARY T. IRVlN
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                                                         Assistant United States Attorney
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     MOTION FOR SEALING ORDER                            2                               v. 6/08/2022
